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 Fill in this information to identify the case:
 Debtor 1    Marlene Laforest
             aka Marlene Volmar
             aka Marianne Volmar

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the SOUTHERN District of FLORIDA

 Case number 19-20438-AJC


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: WELLS FARGO BANK, NATIONAL                                  Court claim no. (if known): 1-1
ASSOCIATION AS TRUSTEE FOR OPTION ONE MORTGAGE
LOAN TRUST 2005-4, ASSET-BACKED CERTIFICATES,
SERIES 2005-4
Last 4 digits of any number you use to
identify the debtor’s account: 3458

Does this notice supplement a prior notice of postpetition
fees, expenses, and charges?
■ No
□ Yes. Date of the last notice:

 Part 1:       Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
 account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount,
 indicate that approval in parentheses after the date the amount was incurred.

            Description                                                                             Date Incurred               Amount

 1          Late Charges                                                                                            (1)            $0.00

 2          Non-sufficient funds (NSF) fees                                                                         (2)            $0.00

 3          Attorneys fees                                                                                          (3)            $0.00

 4          Filing fee and court costs                                                                              (4)            $0.00

 5          Bankruptcy/Proof of claim fees                                                            10/16/2019    (5)          $500.00

 6          Appraisal/Broker's Price opinion fees                                                                   (6)            $0.00

 7          Property inspection fees                                                                                (7)            $0.00

 8          Tax Advances (non-escrow)                                                                               (8)            $0.00

 9          Insurance advances (non-escrow)                                                                         (9)            $0.00

 10         Property preservation expenses                                                                          (10)           $0.00

 11         Other. Specify: Plan Review Fee                                                           8/23/2019     (11)         $150.00

 12         Other. Specify: 410A Fee                                                                  10/16/2019    (12)         $250.00

 13         Other. Specify:                                                                                         (13)           $0.00

 14         Other. Specify:                                                                                         (14)           $0.00




 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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                                            CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that on ____________________________________________________________,
                                                January 2, 2020

I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
MATTHEW T BAYARD
4343 W. FLAGLER ST.
STE. 100
MIAMI, FL 33134

NANCY K. NEIDICH
WWW.CH13MIAMI.COM
POB 279806
MIRAMAR, FL 33027

OFFICE OF THE US TRUSTEE
51 S.W. 1ST AVE.
SUITE 1204
MIAMI, FL 33130

MARLENE LAFOREST
2380 SUPERIOR ST
OPA LOCKA, FL 33054


                                                                           Robertson, Anschutz & Schneid, P.L.
                                                                           Authorized Agent for Secured Creditor
                                                                           6409 Congress Ave., Suite 100
                                                                           Boca Raton, FL 33487
                                                                           Telephone: 470-321-7112
                                                                           Facsimile: 561-997-6909

                                                                           By: _________________________
                                                                                  /s/ Claude Kamgna
                                                                                    Claude Kamgna
                                                                                    email:ckamgna@rascrane.com




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